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 4                 IN THE UNITED STATES DISTRICT COURT FOR THE

 5                       EASTERN DISTRICT OF CALIFORNIA

 6

 7   UNITED STATES OF AMERICA,         )
                                       )
 8              Plaintiff,             )       No. 1:12-CR-00344 LJO SKO
                                       )
 9        vs.                          )       SUPERSEDING ORDER OF RELEASE
                                       )
10   GUILLERMO PAREDES JR.,            )
                                       )
11                     Defendant.      )
                                       )
12
          The above named defendant having been released on terms and
13
     conditions of pretrial services release,
14
          IT IS HEREBY ORDERED that the defendant shall be released
15
     from the Fresno County Jail on April 29, 2013, at 08:00 AM. Upon
16
     release, the Defendant shall report immediately to the Pretrial
17
     Services Officer in Fresno, California, to establish location
18
     monitoring.
19

20
     DATED: April 26, 2013
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22                                     /s/ GARY S. AUSTIN
                                       HONORABLE GARY S. AUSTIN
23                                     U.S. MAGISTRATE JUDGE

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